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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

GARRY STEWART, M.D.                                                          PLAINTIFF

v.                          CASE NO. 4:17-CV-00338-BSM

ADVANCED MEDICAL REVIEWS, INC.;
EXAMWORKS, INC.; J.D. HAINES, M.D.; GARY
GRAMM, D.O.; DAVID CHEN, M.D.; ANNA
BELMAN, M.D.; and JENNIFER CROWLEY, R.N.                                 DEFENDANTS

                    DEFENDANTS’ BRIEF IN SUPPORT OF
                   MOTION TO STRIKE DR. TIMOTHY QUILL

                                 I.         Introduction

        The Court should grant defendants’ motion to strike Dr. Quill as plaintiff’s

expert witness because plaintiff’s expert witness disclosure deadline was not

extended and, therefore, his disclosure his untimely. Additionally, even if the Court

finds the expert witness disclosure deadline was extended, disclosure was

nevertheless untimely.

                                      II.    Argument

A.      Plaintiff’s expert witness disclosure deadline was not extended,
        making his disclosure his untimely.

        A scheduling order cannot be changed absent “good cause and with the

judge’s consent.” See Fed. R. Civ. P. 16(a). A party that “fails to provide information

or identify a witness as required by Rule 26(a) or (e) . . . is not allowed to use that

information or witness to supply evidence on a motion, at a hearing, or at a trial,

unless the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).




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        In Wells v. Lamplight Farms, Inc., the parties agreed to a discovery plan that

established a deadline for the plaintiffs’ expert disclosures, the defendants’ expert

disclosures, and rebuttal expert disclosures. 303 F.R.D. 530, 532 (N.D. Iowa 2014).

The scheduling order also included a deadline for completion of all discovery. Id.

The plaintiffs sought to obtain additional discovery after their expert disclosure

deadline. Id. at 533. The defendants moved to quash the requested discovery,

arguing that the discovery “would serve no purpose other than to allow their expert

to formulate new opinions.” Id. In granting the defendants’ motion, the court ruled

because the “plaintiffs did not obtain (let alone seek) an extension, and

because Rule 26(e) does not justify the addition of new expert opinions long after

the expert disclosure deadline,” the plaintiffs’ attempt to disclose a supplemental

expert opinion was improper. Id. at 537 (emphasis added).

        Although the facts of Wells are not identical to the case at bar, Wells is

nonetheless instructive. In Wells, the plaintiffs attempted to conduct more discover

for the purpose of supplementing one of their expert’s opinions but were barred from

doing so. Dr. Stewart, however, is not merely trying to supplement a timely-

disclosed expert’s opinion; he is attempting to disclose an entirely new expert

months after the expert disclosure deadline and just one business day before the

deadline for completion of all discovery.1 As the Wells plaintiffs were barred from

supplementing an expert witness’s opinion past the expert disclosure deadline, so


        1The Court’s Second Amended Final Scheduling Order did not extend the expert disclosure
deadlines set forth in paragraph 4 of the Amended Final Scheduling Order. See Doc. Nos. 43, 128.
Rather, the Second Amended Final Scheduling Order extended the deadline for completion of all
discovery from May 11, 2018 (see Doc. No. 43, ¶ 2) to July 16, 2018 (see Doc. No. 128, ¶ 2).

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should Dr. Stewart be barred from disclosing Dr. Quill more than five months past

his disclosure deadline.

        The Wells opinion illustrates a well-developed body of law that has been

affirmed by the Eighth Circuit. In Trost, the Eighth Circuit held that a failure to

disclose a witness in a timely manner is equivalent to a total failure to disclose that

witness. Trost v. Trek Bicycle Corp., 162 F.3d 1004, 1008 (8th Cir. 1998). Thus, if a

witness’s identity is not timely and properly disclosed, that testimony generally will

not be admissible at trial:

        If a party fails to provide information or identify a witness as required
        by Rule 26(a) or (e), the party is not allowed to use that information or
        witness to supply evidence on a motion, at a hearing, or at a trial,
        unless the failure was substantially justified or is harmless.

Fed. R. Civ. P. 37(c)(1). The advisory committee’s note to the 1993 amendments of

Fed. R. Civ. P. 37 states:

        Rule 37(c)(1) is a self-executing sanction. . . .

                                          *   *    *

        Paragraph (1) prevents a party from using as evidence and witnesses
        or information that without substantial justification, has not been
        disclosed as required by Rules 26(a) and 26(e)(1). This automatic
        sanction provides a strong inducement for disclosure of materials that
        the disclosing party would expect to use as evidence, whether at trial,
        at a hearing, or on a motion, such as one under Rule 56.

Fed. R. Civ. P. 37, advisory committee’s note to 1993 amendments (emphasis

added).

        The purpose of these disclosure rules is to eliminate unfair surprise to the

opposing party and to conserve judicial resources. Sylla-Sawdon v. Uniroyal

Goodrich Tire Co., 47 F.3d 277, 284 (8th Cir. 1995). Enforcement of scheduling

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“order deadlines is critical to achieving the primary goal of the judiciary: ‘to serve

the just, speedy, and inexpensive determination of every action.’” Marmo v. Tyson

Fresh Meats, Inc., 457 F.3d 748, 759 (8th Cir. 2006) (quoting Fed. R. Civ. P. 1).

        This Court has previously considered four factors in assessing whether the

failure to timely disclose an expert was justified or harmless: (1) the importance of

the proffered witness’s testimony; (2) the explanation of the party for its failure to

comply with the required disclose; (3) the potential prejudice that would arise from

allowing the material to be used at trial or on a motion; and (4) the availability of a

continuance to cure such prejudice. Stanley v. Tyson Foods, Inc., No. 5:08-cv-0004-

BSM, 2008 WL 5381393, at *1 (E.D. Ark. Dec. 22, 2008).

        In Trost, a products liability case, the Eighth Circuit Court of Appeals

affirmed the district court’s grant of summary judgment in favor of a defendant

based on plaintiff’s untimely expert disclosures. 162 F.3d at 1006. There, the

district court set scheduling deadlines for expert witness disclosures and

depositions. Id. After these expert witness deadlines passed, the defendant moved

for summary judgment, arguing that the plaintiff failed to produce “competent

evidence to support his claims.” Id. The court granted the motion, “finding the

opinion of [the plaintiff’s] expert inadmissible because it was untimely, inadequate,

and based upon insufficient expertise.” Id. (emphasis added). The plaintiff’s expert’s

opinion was provided “forty-two days after the deadline for completion of expert

discovery.” Id. at 1007. On appeal, the Eighth Circuit held that the plaintiff had no

substantial justification that would allow for a late disclosure:



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        There is no question that the expert evidence was late. October 1, 1997
        was the deadline for expert discovery, and Engel’s . . . affidavit and . . .
        letter were submitted well beyond that date. “A party that . . . fails to
        disclose information required by Rule 26(a) . . . shall not be permitted
        to use the [nondisclosed information] as evidence at a trial, at a
        hearing, or on a motion” “unless such failure is harmless” or there was
        “substantial justification” for the failure.

Id. at 1008 (brackets in original) (emphasis added). The plaintiff had not requested

an extension of the deadline, and the untimely disclosure was not harmless because

the defendant had continued to litigate the case based on the lack of plaintiff’s

disclosure. Id. at 1008–09. The Eighth Circuit held that the defendant “would have

been significantly prejudiced by the late production of [the expert’s] opinion because

of lack of time to prepare to refute the evidence at trial. In addition, the court’s trial

calendar would have been disrupted if a continuance became necessary.”

        Just as the Eighth Circuit pointed out in Trost, here, plaintiff had no problem

requesting an extension before his February 23, 2018 expert disclosure deadline as

to three of his experts: Dr. Morgan Sauer, Dr. Jonathan Wolfe, and Dr. Ralph Scott,

and defendants agreed to that request. See Doc. No. 43, ¶ 4. Plaintiff then timely

disclosed those three experts along with their respective reports, as required by the

Amended Final Scheduling Order and the Federal Rules of Civil Procedure. No such

extension was timely sought before the February 23, 2018 deadline as to Dr.

Timothy Quill. Likewise, no such extension was timely sought before plaintiff’s

April 20, 2018 deadline to disclose rebuttal experts.

        None of the factors outlined by this Court in Stanley support allowing

plaintiff’s untimely identified experts to testify during plaintiff’s case-in-chief. As for

the first Stanley factor, plaintiff’s existing liability experts (Dr. Sauer and Dr.

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Wolfe) have already testified that the medications ordered by Dr. Stewart did not

hasten the patients’ deaths; thus, removing any potential importance from the

testimony of plaintiff’s late-disclosed expert. Regarding the second Stanley factor,

plaintiff has offered no reason for his failure to comply with the February 23, 2018

deadline as to Dr. Quill. The third Stanley factor also weighs in favor of defendants.

The discovery deadline was July 16, 2018. See Doc. No. 128, ¶ 2. Defendants have

prepared this case based on the agreed disclosure deadlines and have disclosed

their experts with reports based on the representations plaintiff’s timely-disclosed

experts made in their reports. To allow plaintiff to, in effect, re-open expert

discovery after fully exploring defendants’ expert witness strategy would result in

unfair prejudice to defendants by adding significant costs and, more importantly, by

giving plaintiff two bites at the apple. Defendants have spent substantial hours and

thousands of dollars related to Dr. Sauer’s deposition (both in preparation-related

and actual deposition charges). Moreover, in their reports, defendants’ experts have

considered and directly responded to plaintiff’s experts’ opinions and the bases for

them. To allow plaintiff to name Dr. Quill as a new expert will result in thousands

of additional dollars related to depositions and consultations with defendants’ own

experts. Because plaintiff cannot demonstrate any substantial justification for this

untimely disclosure and because the untimely disclosure was not harmless, he

should be precluded from calling Dr. Quill as a witness at the trial of this case.




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B.      Even if the Court finds the expert witness disclosure deadline was
        also extended, disclosure was nevertheless untimely.

        The opposing party’s expert witness may only be deposed after the deposing

party has been provided the expert’s report. Fed. R. Civ. P. 26. A disclosure leaving

no time for a deposition indicates the disclosure’s untimeliness. See Popoalii v.

Correctional Medical Services, 512 F.3d 488, 496, 500 (8th Cir. 2008) (affirming the

district court’s grant of a motion to strike an expert witness’s affidavit “because the

defendants had not had a chance to depose [the expert] on these opinions”); see also

Draper v. H. Roberts Family, LLC, No. 1:06-CV-3057-CC, 2009 WL 10672315, at 2

(N.D. Georgia Feb. 11, 2009) (“Defendants’ designation of . . . expert witnesses on

the last day of the extended discovery period was grossly untimely.”). Consequently,

“[d]iscovery of expert opinion must not be allowed to degenerate into a game of

evasion.” Voegeli v. Lewis, 568 F.2d 89, 97 (8th Cir. 1977).

        In Parrish v. Bentonville School District, the Eighth Circuit affirmed Judge

P.K. Holmes’ exclusion of the plaintiffs’ expert’s report, which was disclosed only

one day before the extended discovery deadline, on the grounds that the

disclosure was untimely and neither substantially justified nor harmless. No. 17-

1915, 2018 WL 3544637, at 5, ___ F.3d ___, ___ (8th Cir. July 24, 2018). The court

set out the relevant facts succinctly:

        The [plaintiffs] argue that the district court abused its discretion when
        it excluded Dr. Howard Knoff’s expert report on the grounds that the
        report was not timely disclosed and the untimely disclosure was not
        harmless or substantially justified. The court’s scheduling order stated
        that discovery must be completed by March 8, 2016, which was then
        extended until August 2, 2016. Dr. Knoff was disclosed as a potential
        expert witness on February 8, 2016. No report was disclosed prior to
        the initial close of discovery. One day before the extended

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        discovery deadline of August 2, 2016, Dr. Knoff’s report was
        disclosed.

Id. (emphasis added).

        A similar result was reached by the Fourth Circuit in Sabry v. Gilbert

Security Service, Inc. No. 93-2425, 1994 WL 328278, 28 F.3d 1210 (4th Cir. July 11,

1994). There, the district court entered a scheduling order that included a discovery

deadline. Id. at 1. The order also provided that no witness would be permitted to

testify at trial if not identified in sufficient time to allow for his deposition to be

taken prior to the discovery deadline. Id. The plaintiff provided a list of trial

witnesses one day before the discovery deadline. Id. The district court sustained the

defendants’ objection to allowing the plaintiff to call the late-disclosed witnesses at

trial, and the plaintiff appealed. Id. at 1–2. On appeal, the Fourth Circuit affirmed,

holding that the plaintiff’s failure to comply with the discovery order by not timely

disclosing the witnesses was improper. Id. at 2.

        Here, just as in Parrish and similar to Sabry, plaintiff disclosed Dr. Quill’s

export report just one business day before the extended discovery deadline. As the

Eighth Circuit noted in Parrish, this disclosure was untimely because it did not

permit defendants to take, let alone prepare for, Dr. Quill’s deposition. Likewise,

the Court’s Second Amended Scheduling Order is similar to the Sabry order. The

order here provides that “[a]ll discovery requests and motions must be filed

sufficiently in advance of that date [the discovery deadline] to allow for a timely

response. However, as in Sabry, disclosing an expert witness one day before the

discovery deadline does not allow for a timely response. Plaintiff knew defendants


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could not depose the expert before the discovery deadline because all the possible

deposition dates it provided were after than the deadline. See Ex. A, p. 2 (“We can

make Dr. Quill available for deposition in Rochester, NY, on the following dates:

August 2 and 3, September 13 and 14.”) And even after defendants requested one of

the August dates while reserving the right to object to Dr. Quill being called as an

expert, plaintiff refused to present Dr. Quill until after getting a ruling from the

Court on defendants’ objection. Id. at p. 1. Therefore, defendants’ motion to strike

Dr. Quill should be granted.

                                     III.   CONCLUSION

        Plaintiff’s deadline to disclose expert witnesses was February 23, 2018. On

July 13, nearly five months after his deadline, plaintiff disclosed Dr. Quill as an

expert witness. Defendants’ motion to strike Dr. Quill as an expert should be

granted because plaintiff’s disclosure was not timely, substantially justified, or

harmless.

        Assuming plaintiff’s expert disclosure deadline was extended to July 16,

2018, defendants’ motion should be granted based on plaintiff’s decision to wait

until one day before the discovery deadline to produce Dr. Quill’s report. An expert

witness disclosure that is made one day before the discovery deadline is tantamount

to no disclosure at all.

        Based on the foregoing, defendants pray that their motion to strike Dr.

Timothy Quill is granted, that they be awarded all fees and costs, and for all other

relief to which they are entitled.



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                             CERTIFICATE OF SERVICE

        I hereby certify that on July 30, 2018, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which shall send notification of such

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